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 1   Tatyana Evgenievna Drevaleva

 2   1099 Fillmore St., Apt. 5E, San Francisco, CA, 94115

 3   Cell 628-688-6167, tdrevaleva@gmail.com

 4   Plaintiff in Pro Per

 5                             THE UNITED STATES DISTRICT COURT

 6                          FOR THE NORTHERN DISTRUCT OF CALIFORNIA

 7

 8    Tatyana Evgenievna. Drevaleva              )    Case No. 3:22-cv-01585-EMC
                                                 )
 9                      Plaintiff - Petitioner   )
                                                 )
10                     vs.                       )    Notice of a Change of Address.
                                                 )
11                                               )
      1) Alameda Health System                   )
12                                               )          Courtroom 5 – 17th Floor
      2) The California Department of Industrial )
13       Relations (the DIR)                     )          Judge: The Hon. Edward Chen
                                                 )
14                     Defendants.               )
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                                              Page 1 of 2

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              Case 3:22-cv-01585-EMC Document 65 Filed 07/09/22 Page 2 of 2




 1          Plaintiff Tatyana Drevaleva is informing the U.S. District Court for the NDC about a

 2   change of my home postal address and my mailing address.

 3          Now, my home postal address and my mailing address is:

 4                 Tatyana Drevaleva

 5                 1099 Fillmore St., Apt. 5E,

 6                 San Francisco, CA, 94115

 7

 8          I declare under penalty of perjury and under the Federal laws that the above is true and
 9   correct and that this verification was executed on July 09, 2022 at San Francisco, California.
10   Respectfully submitted,
11

12          Date: July 09, 2022                    Sign Name:
13

14

15                                                       Print Name: Tatyana E. Drevaleva
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                                                 Page 2 of 2

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